12-12171-reg    Doc 102-1       Filed 06/15/12 Entered 06/15/12 13:50:07   Main
                                Document Pg 1 of 3



Alan W. Kornberg
Jeffrey D. Saferstein
Philip Weintraub
PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
1285 Avenue of the Americas
New York, New York 10019-6064
Telephone: (212) 373-3000
Facsimile: (212) 757-3990

Counsel to the Debtors
and the Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- x
In re:                                              : Chapter 11
                                                    :
HOUGHTON MIFFLIN                                    : Case No. 12-12171 (REG)
HARCOURT PUBLISHING COMPANY, et al.,                :
                                                    :
                                    Debtors.        :
-------------------------------------- x

                 NOTICE OF AGENDA OF MATTERS
         SCHEDULED FOR HEARING ON JUNE 18, 2012 AT 9:45 A.M.

Date and Time of Hearing: June 18, 2012 at 9:45 a.m. (Eastern Time)

Location of Hearing:        Courtroom of the Honorable Robert E. Gerber
                            United States Bankruptcy Court
                            Southern District of New York
                            Alexander Hamilton Custom House, Room 621
                            One Bowling Green
                            New York, New York 10004
12-12171-reg        Doc 102-1    Filed 06/15/12 Entered 06/15/12 13:50:07             Main
                                 Document Pg 2 of 3



Copies of Pleadings:            A copy of each pleading referenced herein can be viewed
                                (a) for a fee on the Court’s website at
                                ecf.nysb.uscourts.gov, and (b) free of charge on the website
                                of the Debtors’ claims and noticing agent, Kurtzman
                                Carson Consultants, at www.kccllc.net/hmhco.

I.     CONTESTED MATTERS

       1.      Motion of the United States Trustee to Transfer These Cases to a District
               Where Venue is Proper (Docket #57)

               Response Deadline:      June 11, 2012 at 12:00 p.m.

               Responses Received:

               A.      Objection of the Debtors to the Motion of the United States
                       Trustee to Transfer these Cases to a District Where Venue is
                       Proper (Docket #79)

               B.      Objection of the Informal Creditor Group to the Motion of the
                       United States Trustee to Transfer These Cases to a District Where
                       Venue is Proper (Docket #80)

               C.      Citibank, N.A.’s Joinder to the Objection of the Debtors to the
                       Motion of the United States Trustee to Transfer these Cases to a
                       District Where Venue is Proper (Docket #82)

               D.      United States Trustee's Reply to Objections of Debtors, Informal
                       Creditor Group and Citibank, N.A. to the United States Trustee's
                       Motion to Transfer These Cases to a District Where Venue is
                       Proper (Docket #100)

               Related Documents:

               E.      Motion of United States Trustee for Entry of Order Shortening
                       Time for Notice of Hearing (Docket #57)

               F.      Endorsed Order Denying Motion to Shorten Time for Hearing
                       (Docket #62)




                                              2
12-12171-reg   Doc 102-1    Filed 06/15/12 Entered 06/15/12 13:50:07   Main
                            Document Pg 3 of 3



Dated: New York, New York
       June 15, 2012            PAUL, WEISS, RIFKIND WHARTON &
                                GARRISON LLP


                                By: /s/ Jeffrey D. Saferstein

                                Alan Kornberg
                                (akornberg@paulweiss.com)
                                Jeffrey D. Saferstein
                                (jsaferstein@paulweiss.com)
                                Philip Weintraub
                                (pweintraub@paulweiss.com)
                                1285 Avenue of the Americas
                                New York, New York 10019-6064
                                Telephone: (212) 373-3000
                                Facsimile: (212) 757-3990

                                Counsel to the Debtors and
                                Debtors-in-Possession




                                       3
